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6     BRAD DEMITROPOULOS

7
                               UNITED STATES DISTRICT COURT
8
                                         DISTRICT OF NEVADA
9
                                                ⋆⋆⋆⋆⋆
10
11    DENISE ABBEY, individually, and                    Case No.: 3:13-cv-00347-LRH-VPC
      as special administrator of the ESTATE
12    OF MICAH ABBEY,
                                                         DEFENDANT DEMITROPOULOS’
13                         Plaintiffs,                   AMENDED ANSWER TO THIRD
                                                         AMENDED COMPLAINT AND
14    vs.                                                DEMAND FOR JURY TRIAL
15
      CITY OF RENO; RENO POLICE
16    DEPARTMENT; KEITH PLEICH individually
      and in his official capacity as a Police Officer
17    for CITY OF RENO AND RENO POLICE
      DEPARTMENT; DANIEL BOND individually
18    and in his official Capacity as a Police Officer
      for CITY OF RENO and RENO POLICE
19    DEPARTMENT; SCOTT RASMUSSEN
      Individually and in his official Capacity as a
20    Police Officer for CITY OF RENO and RENO
      POLICE DEPARTMENT; BRAD
21
      DEMITROPOULOS; BOARD OF REGENTS
22    FOR THE NEVADA SYSTEM OF HIGHER
      EDUCATION ON BEHALF OF THE
23    UNIVERSITY OF NEVADA, RENO; and
      DOES I through X, inclusive,
24
                           Defendants.               /
25
             Defendant Brad Demitropoulos (hereinafter, “Demitropoulos”) hereby amends
26
      his answers to Plaintiffs’ Third Amended Complaint as follows:
27
28    ///




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1                                          INTRODUCTION
2          1.       Responding to paragraph 1, Demitropoulos denies that there was a
3     wrongful death or that it occurred at his hands. Demitropoulos lacks sufficient
4     information to form a belief as to the truth of the allegations of this paragraph, and
5     therefore denies the same.
6                                   JURISDICTION AND VENUE
7          2.       Responding to paragraph 2, Demitropoulos denies the existence of any
8     valid claims for civil rights violations or wrongful death under the statues referenced in
9     this paragraph, under other statues, or under the common law.
10         3.       Responding to paragraph 3, Demitropoulos admits that he is a resident
11    of the District of Nevada, but lacks sufficient information to form a belief as to the truth
12    of the remaining allegations of this paragraph, and therefore denies the same.
13                                             PARTIES
14         4.       Responding to paragraph 4, Demitropoulos lacks sufficient information to
15    form a belief as to the truth of the allegations of this paragraph, and therefore denies the
16    same.
17         5.       Responding to paragraph 5, Demitropoulos lacks sufficient information to
18    form a belief as to the truth of the allegations of this paragraph, and therefore denies the
19    same.
20         6.       Responding to paragraph 6, the allegations of this paragraph do not
21    apply to this answering Defendant, such that no response is necessary. Should the
22    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
23    expressly denied.
24         7.       Responding to paragraph 7, the allegations of this paragraph do not
25    apply to this answering Defendant, such that no response is necessary. Should the
26    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
27    expressly denied.
28         8.       Demitropoulos admits the allegations of paragraph 8.




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1            9.       Responding to paragraph 9, the allegations of this paragraph do not
2     apply to this answering Defendant, such that no response is necessary. Should the
3     allegations of this paragraph be interpreted to apply to Demitropoulos, they are
4     expressly denied.
5            10.      Responding to paragraph 10, the allegations of this paragraph do not
6     apply to this answering Defendant, such that no response is necessary. Should the
7     allegations of this paragraph be interpreted to apply to Demitropoulos, they are
8     expressly denied.
9            11.      Responding to paragraph 11, the allegations of this paragraph do not
10    apply to this answering Defendant, such that no response is necessary. Should the
11    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
12    expressly denied.
13           12.      Responding to paragraph 12, Demitropoulos admits that he was an
14    officer with the University of Nevada Police Services and that he resided in Washoe
15    County, Nevada at all times alleged in the Third Amended Complaint.
16           13.      Responding to paragraph 13 Demitropoulos lacks sufficient information
17    to form a belief as to the truth of the allegations in this paragraph, and therefore denies
18    the same.
19           14.      Demitropoulos denies all of the allegations in paragraph 14.
20           15.      Responding to paragraph 15, Demitropoulos admits that at all material
21    times, he was acting under color of law.
22           16.      Responding to paragraph 16, Demitropoulos states that Fed.R.Civ.P.
23    8(d)(2) speaks for itself.
24                                    FACTUAL BACKGROUND
25           17.      Responding to paragraph 17, Demitropoulos adopts by reference and
26    incorporates herein all of his responses to paragraphs 1 through 16, inclusive, as if set
27    forth in full at this point.
28     ///




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1           18.     Responding to paragraph 18, Demitropoulos believes the allegations of
2     this paragraph to be true, based upon information received from subsequent
3     investigative reports, and therefore admits the same.
4           19.     Responding to paragraph 19, Demitropoulos denies that at the time of the
5     occurrences alleged in the complaint he knew or should have known of Micah Abbey’s
6     alleged mental, physical and emotional conditions. Demitropoulos lacks sufficient
7     information to form a belief as to the truth of the remaining allegations of this paragraph,
8     and therefore denies the same.
9           20.     Responding to paragraph 20, Demitropoulos believes the allegations of
10    this paragraph to be true, based upon information received from subsequent
11    investigative reports, and therefore admits the same.
12          21.     Responding to paragraph 21, Demitropoulos believes the allegations of
13    this paragraph to be true, based upon information received from subsequent
14    investigative reports, and therefore admits the same.
15          22.     Responding to paragraph 22, Demitropoulos believes the allegations of
16    this paragraph to be true, based upon information received from subsequent
17    investigative reports, and therefore admits the same.
18          23.     Responding to paragraph 23, Demitropoulos believes the allegation that
19    Defendant Pleich arrived at the residence at approximately 7:56 to be true, based upon
20    information received from subsequent investigative reports, and therefore admits the
21    same. Demitropoulos lacks sufficient information to form a belief as to the truth of the
22    remaining allegations of this paragraph, and therefore denies the same.
23          24.     Responding to paragraph 24, Demitropoulos lacks sufficient information to
24    form a belief as to the truth of the allegations of this paragraph, and therefore denies the
25    same.
26    ///
27    ///
28    ///




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1          25.      Responding to paragraph 25, Demitropoulos lacks sufficient information to
2     form a belief as to the truth of the allegations of this paragraph, and therefore denies the
3     same.
4          26.      Responding to paragraph 26, Demitropoulos lacks sufficient information to
5     form a belief as to the truth of the allegations of this paragraph, and therefore denies the
6     same.
7          27.      Responding to paragraph 27, Demitropoulos lacks sufficient information to
8     form a belief as to the truth of the allegations of this paragraph, and therefore denies the
9     same.
10         28.      Responding to paragraph 28, Demitropoulos believes the allegation that
11    Defendant Bond arrived at the residence at approximately 8:06 to be true, based upon
12    information received from subsequent investigative reports, and therefore admits the
13    same. Demitropoulos lacks sufficient information to form a belief as to the truth of the
14    remaining allegations of this paragraph, and therefore denies the same.
15         29.      Responding to paragraph 29, Demitropoulos denies the allegations of
16    this paragraph.
17         30.      Responding to paragraph 30, Demitropoulos lacks sufficient information to
18    form a belief as to the truth of the allegations of this paragraph, and therefore denies the
19    same.
20         31.      Responding to paragraph 31, Demitropoulos believes the allegation that
21    Abbey refused to go and resisted to be true, based upon subsequent investigative
22    reports, and therefore admits the same. Demitropoulos lacks sufficient information to
23    form a belief as to the truth of the remaining allegations of this paragraph, and therefore
24    denies the same.
25         32.      Responding to paragraph 32, Demitropoulos believes the allegation that
26    Abbey attempted to escape through a window of his bedroom to be true based upon
27    subsequent investigative reports, and therefore admits the same. Demitropoulos lacks
28




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1     sufficient information to form a belief as to the truth of the remaining allegations of this
2     paragraph, and therefore denies the same.
3          33.      Responding to paragraph 33, Demitropoulos believes the allegation that
4     Abbey attempted to escape through a window of his bedroom to be true based on
5     subsequent investigative reports, and therefore admits the same. Demitropoulos lacks
6     sufficient information to form a belief as to the truth of the remaining allegations of this
7     paragraph, and therefore denies the same.
8          34.      Responding to paragraph 34, Demitropoulos denies the allegations of
9     this paragraph insofar as they pertain to him, but admits that he used only reasonable,
10    lawful, and justified levels of force as required by Abbey’s actions. Demitropoulos
11    lacks sufficient information to form a belief as to the truth of the allegations of this
12    paragraph insofar as they pertain to others, and therefore denies the same.
13         35.      Responding to paragraph 35, Demitropoulos denies all of the allegations
14    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
15    information to form a belief as to the truth of the allegations of this paragraph insofar
16    as they pertain to others, and therefore denies the same.
17         36.      Responding to paragraph 36, Demitropoulos denies all of the allegations
18    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
19    information to form a belief as to the truth of the allegations of this paragraph insofar
20    as they pertain to others, and therefore denies the same.
21         37.      Responding to paragraph 37, Demitropoulos denies all of the allegations
22    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
23    information to form a belief as to the truth of the allegations of this paragraph insofar
24    as they pertain to others, and therefore denies the same.
25         38.      Responding to paragraph 38, Demitropoulos denies all of the allegations
26    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
27    information to form a belief as to the truth of the allegations of this paragraph insofar
28    as they pertain to others, and therefore denies the same.




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1          39.      Responding to paragraph 39, Demitropoulos denies all of the allegations
2     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
3     information to form a belief as to the truth of the allegations of this paragraph insofar
4     as they pertain to others, and therefore denies the same.
5          40.      Responding to paragraph 40, Demitropoulos denies all of the allegations
6     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
7     information to form a belief as to the truth of the allegations of this paragraph insofar
8     as they pertain to others, and therefore denies the same.
9          41.      Responding to paragraph 41, Demitropoulos admits that he briefly
10    assisted in controlling Abbey’s legs by crossing them and holding them in place, but
11    denies all of the remaining allegations insofar as they pertain to him. Demitropoulos
12    lacks sufficient information to form a belief as to the allegations of this paragraph
13    insofar as they pertain to others, and therefore denies the same.
14         42.      Responding to paragraph 42, Demitropoulos admits he briefly assisted in
15    controlling Abbey’s legs by crossing them and holding them in place until Defendant
16    Rasmussen arrived to apply RIPP restraints. Demitropoulos believes the allegation
17    that Defendant Rasmussen arrived at approximately 8:24 pm to be true based upon
18    subsequent investigative reports, and therefore admits the same. Demitropoulos
19    denies all of the remaining allegations of this paragraph insofar as they pertain to him.
20    Demitropoulos lacks sufficient information to form a belief as to the truth of the
21    remaining allegations of this paragraph insofar as they pertain to others, and therefore
22    denies the same.
23         43.      Responding to paragraph 43, Demitropoulos denies all of the allegations
24    of this paragraph insofar as they pertain to him. Demitropoulos admits that other
25    officers removed the RIPP restraints and handcuffs and commenced cardio pulmonary
26    resuscitation until medical units arrived and took over. Demitropoulos lacks sufficient
27    information to form a belief as to the truth of the remaining allegations of this
28    paragraph insofar as they pertain to others, and therefore denies the same.




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1          44.      Responding to paragraph 44, Demitropoulos believes the allegations of
2     this paragraph to be true, based upon information received from subsequent
3     investigative reports, and therefore admits the same.
4          45.      Responding to paragraph 45, Demitropoulos denies the allegations of
5     this paragraph because they inaccurately set forth the full and complete findings.
6          46.      Responding to paragraph 46, Demitropoulos denies all of the allegations
7     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
8     information to form a belief as to the truth of the allegations of this paragraph insofar
9     as they pertain to others, and therefore denies the same.
10         47.      Responding to paragraph 47, Demitropoulos admits that he was acting
11    under color of law at all times relevant hereto.
12         48.      Responding to paragraph 48, Demitropoulos denies all of the allegations
13    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
14    information to form a belief as to the truth of the allegations of this paragraph insofar
15    as they pertain to others, and therefore denies the same.
16         49.      Responding to paragraph 49, Demitropoulos denies all of the allegations
17    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
18    information to form a belief as to the truth of the allegations of this paragraph insofar
19    as they pertain to others, and therefore denies the same.
20         50.      Responding to paragraph 50, Demitropoulos denies all of the allegations
21    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
22    information to form a belief as to the truth of the allegations of this paragraph insofar
23    as they pertain to others, and therefore denies the same.
24         51.      Responding to paragraph 51, Demitropoulos denies all of the allegations
25    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
26    information to form a belief as to the truth of the allegations of this paragraph insofar
27    as they pertain to others, and therefore denies the same.
28




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1           52.       Responding to paragraph 52, Demitropoulos denies all of the allegations
2     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
3     information to form a belief as to the truth of the allegations of this paragraph insofar
4     as they pertain to others, and therefore denies the same.
5                                              COUNT I
6                                         42 U.S.C. § 1983
7              (PLEICH, BOND, RASMUSSEN, DEMITROPOULOS AND DOES I-X)
8           53.       Responding to paragraph 53, Demitropoulos adopts by reference and
9     incorporates herein all of his responses to paragraphs 1 through 52, inclusive, as if set
10    forth in full at this point.
11          54.       Responding to paragraph 54, Demitropoulos denies all of the allegations
12    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
13    information to form a belief as to the truth of the allegations of this paragraph insofar
14    as they pertain to others, and therefore denies the same.
15          55.       Responding to paragraph 55, Demitropoulos denies all of the allegations
16    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
17    information to form a belief as to the truth of the allegations of this paragraph insofar
18    as they pertain to others, and therefore denies the same.
19          56.       Responding to paragraph 56, Demitropoulos denies all of the allegations
20    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
21    information to form a belief as to the truth of the allegations of this paragraph insofar
22    as they pertain to others, and therefore denies the same.
23          57.       Responding to paragraph 57, Demitropoulos denies all of the allegations
24    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
25    information to form a belief as to the truth of the allegations of this paragraph insofar
26    as they pertain to others, and therefore denies the same.
27          58.       Responding to paragraph 58, Demitropoulos denies all of the allegations
28    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient




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1     information to form a belief as to the truth of the allegations of this paragraph insofar
2     as they pertain to others, and therefore denies the same.
3           59.       Responding to paragraph 59, Demitropoulos denies all of the allegations
4     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
5     information to form a belief as to the truth of the allegations of this paragraph insofar
6     as they pertain to others, and therefore denies the same.
7                                             COUNT II
8                                          42 U.S.C. § 1983
9                                    (CITY, RPD AND DOES I-X)
10          60.       Responding to paragraph 60, Demitropoulos adopts by reference and
11    incorporates herein all of his responses to paragraphs 1 through 59 inclusive, as if set
12    forth in full at this point.
13          61.        Responding to paragraph 61, Demitropoulos denies all of the allegations
14    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
15    information to form a belief as to the truth of the allegations of this paragraph insofar
16    as they pertain to others, and therefore denies the same.
17          62.       Responding to paragraph 62, the allegations of this paragraph do not
18    apply to this answering Defendant, such that no response is necessary. Should the
19    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
20    expressly denied.
21          63.       Responding to paragraph 63, the allegations of this paragraph do not
22    apply to this answering Defendant, such that no response is necessary. Should the
23    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
24    expressly denied.
25          64.       Responding to paragraph 64, Demitropoulos denies all of the allegations
26    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
27    information to form a belief as to the truth of the allegations of this paragraph insofar
28    as they pertain to others, and therefore denies the same.




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1           65.       Responding to paragraph 65, Demitropoulos denies all of the allegations
2     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
3     information to form a belief as to the truth of the allegations of this paragraph insofar
4     as they pertain to others, and therefore denies the same.
5           66.       Responding to paragraph 66, the allegations of this paragraph do not
6     apply to this answering Defendant, such that no response is necessary. Should the
7     allegations of this paragraph be interpreted to apply to Demitropoulos, they are
8     expressly denied.
9           67.       Responding to paragraph 67, Demitropoulos denies all of the allegations
10    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
11    information to form a belief as to the truth of the allegations of this paragraph insofar
12    as they pertain to others, and therefore denies the same.
13          68.       Responding to paragraph 68, the allegations of this paragraph do not
14    apply to this answering Defendant, such that no response is necessary. Should the
15    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
16    expressly denied.
17          69.       Responding to paragraph 69, the allegations of this paragraph do not
18    apply to this answering Defendant, such that no response is necessary. Should the
19    allegations of this paragraph be interpreted to apply to Demitropoulos, they are
20    expressly denied.
21                                            COUNT III
22                                          NEGLIGENCE
23                                      (ALL DEFENDANTS)
24          70.       Responding to paragraph 70, Demitropoulos adopts by reference and
25    incorporates herein all of his responses to paragraphs 1 through 69 inclusive, as if set
26    forth in full at this point.
27          71.       Responding to paragraph 71, Demitropoulos denies all of the allegations
28    of this paragraph insofar as they pertain to him, but admits that he acted at all times




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1     with due care. Demitropoulos lacks sufficient information to form a belief as to the
2     truth of the allegations of this paragraph insofar as they pertain to others, and
3     therefore denies the same.
4           72.     Responding to paragraph 72, Demitropoulos denies all of the allegations
5     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
6     information to form a belief as to the truth of the allegations of this paragraph insofar
7     as they pertain to others, and therefore denies the same.
8           73.     Responding to paragraph 73, Demitropoulos denies all of the allegations
9     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
10    information to form a belief as to the truth of the allegations of this paragraph insofar
11    as they pertain to others, and therefore denies the same.
12          74.     Responding to paragraph 74, Demitropoulos denies all of the allegations
13    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
14    information to form a belief as to the truth of the allegations of this paragraph insofar
15    as they pertain to others, and therefore denies the same.
16          75.     Responding to paragraph 75, Demitropoulos denies all of the allegations
17    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
18    information to form a belief as to the truth of the allegations of this paragraph insofar
19    as they pertain to others, and therefore denies the same.
20          76.     Responding to paragraph 76, Demitropoulos denies all of the allegations
21    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
22    information to form a belief as to the truth of the allegations of this paragraph insofar
23    as they pertain to others, and therefore denies the same.
24    ///
25    ///
26    ///
27    ///
28    ///




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1                                             COUNT IV
2                                    ASSAULT AND BATTERY
3                                       (ALL DEFENDANTS)
4           77.       Responding to paragraph 77, Demitropoulos adopts by reference and
5     incorporates herein all of his responses to paragraphs 1 through 76 inclusive, as if set
6     forth in full at this point.
7           78.       Responding to paragraph 78, Demitropoulos denies all of the allegations
8     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
9     information to form a belief as to the truth of the allegations of this paragraph insofar
10    as they pertain to others, and therefore denies the same.
11          79.       Responding to paragraph 79, Demitropoulos denies all of the allegations
12    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
13    information to form a belief as to the truth of the allegations of this paragraph insofar
14    as they pertain to others, and therefore denies the same.
15                                            COUNT V
16                                      WRONGFUL DEATH
17                                      (ALL DEFENDANTS)
18          80.       Responding to paragraph 80, Demitropoulos adopts by reference and
19    incorporates herein all of his responses to paragraphs 1 through 80 inclusive, as if set
20    forth in full at this point.
21          81.       Responding to paragraph 81, Demitropoulos lacks sufficient information to
22    form a belief as to the truth of the allegations of this paragraph, and therefore denies the
23    same.
24          82.       Responding to paragraph 82, Demitropoulos denies that Plaintiffs have
25    standing to bring an action on behalf of others not named as plaintiffs to this action.
26          83.       Responding to paragraph 83, Demitropoulos denies all of the allegations
27    of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
28




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1     information to form a belief as to the truth of the allegations of this paragraph insofar
2     as they pertain to others, and therefore denies the same.
3           84.     Responding to paragraph 84, Demitropoulos denies all of the allegations
4     of this paragraph insofar as they pertain to him. Demitropoulos lacks sufficient
5     information to form a belief as to the truth of the allegations of this paragraph insofar
6     as they pertain to others, and therefore denies the same.
7                                    AFFIRMATIVE DEFENSES
8                   As and for his Affirmative Defenses, Defendant alleges and avers as

9     follows:

10                                    First Affirmative Defense

11                  The Third Amended Complaint fails to state any claim upon which

12    relief can be granted in favor of the Plaintiffs or against the Defendant.

13                                 Second Affirmative Defense

14                  At all times and places relevant hereto, Defendant acted in good faith,

15    with justification and probable cause, and without malice toward the decedent or

16    Plaintiffs.

17                                  Third Affirmative Defense

18                  Plaintiffs are estopped by decedent’s own conduct from maintaining

19    any of the claims for relief set forth in the Third Amended Complaint.

20                                 Fourth Affirmative Defense

21                  Plaintiffs’ decedent has waived each of the claims for relief set forth in

22    the Third Amended Complaint, which waiver is imputed to Plaintiffs.

23                                  Fifth Affirmative Defense

24                  Plaintiffs’ suit is barred by the doctrine of unclean hands.

25                                  Sixth Affirmative Defense

26            The claims for relief in the Third Amended Complaint allege acts or omissions

27    of employees or agents of the University of Nevada, Reno that occurred in the

28    execution of a statute, ordinance or other legal regulation, while exercising due care,




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1     and are therefore barred by NRS 41.032.
2                                 Seventh Affirmative Defense
3            NRS 41.035 limits the amount of recovery against an employee of a political
4     subdivision of the State of Nevada and to $100,000.00.
5                                  Eighth Affirmative Defense
6            The claims for relief in the Third Amended Complaint allege performance or
7     non-performance of discretionary functions within the scope of Defendant’s official
8     duties and are therefore barred by NRS 41.032.
9                                   Ninth Affirmative Defense
10           Punitive or exemplary damages are barred by NRS 41.035.
11                                  Tenth Affirmative Defense
12           Defendant is entitled to qualified good faith immunity.
13                                 Eleventh Affirmative Defense
14           The actions of the Defendant were privileged.
15                                 Twelfth Affirmative Defense
16           Without admitting that the decedent’s civil rights were violated in any fashion,
17    Defendant is shielded from liability for civil damages, because Defendant’s alleged
18    conduct, as set forth in the Third Amended Complaint, did not violate clearly established
19    statutory and/or constitutional rights of which a reasonable person would have known.
20                                Thirteenth Affirmative Defense
21           Defendant is informed and believes and thereupon avers that at all times and
22    places relevant hereto Plaintiffs’ decedent was negligent, at fault and otherwise
23    responsible for the matters which are the subject of this litigation, with such
24    negligence, fault or responsibility proximately causing and contributing to any alleged
25    injuries and damages, and with such negligence being imputed to Plaintiffs.
26                               Fourteenth Affirmative Defense
27           1. Defendant adopts by reference and incorporates herein the preceding
28    affirmative defense.




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1             2.   At all times denying any negligence, fault or responsibility on Defendant's
2     behalf, Defendant avers that the contributory negligence, fault or responsibility of
3     Plaintiffs’ decedent must be compared to that of this defendant, if any, in accordance
4     with the laws of the State of Nevada, with such comparative negligence being imputed
5     to Plaintiffs.
6                                    Fifteenth Affirmative Defense
7             On information and belief, at all times and places alleged in Plaintiff's complaint,
8     the negligence, misconduct and fault of the plaintiffs’ decedent exceeds that of this
9     Defendant, if any, and with imputation of such negligence, misconduct and fault to
10    Plaintiffs, Plaintiffs are thereby barred from recovery against Defendant.
11                                  Sixteenth Affirmative Defense
12            1. Defendant adopts by reference and incorporates herein the preceding two
13    affirmative defenses.
14            2. At all times denying any negligence, fault or responsibility on Defendant's behalf,
15    Defendant avers that if Defendant is found to be negligent, at fault or otherwise responsible
16    for Plaintiff's injuries or damages, if any there were but without admitting the same, the
17    principles of law and equity relative to comparative negligence and fault require that the
18    proportionate or relative degrees of negligence, fault or responsibility of all parties involved
19    in the incident be ascertained so that Defendant be liable to Plaintiffs, if at all, for no more
20    than an amount equal to Defendant's proportionate or relative degree of negligence, fault or
21    responsibility, if any there is.
22                                 Seventeenth Affirmative Defense
23            Defendant is informed and believes and thereupon avers that Plaintiffs’ decedent
24    consented to the matters referred to in the complaint.
25                                  Eighteenth Affirmative Defense
26            At all times and places relevant hereto Defendant and its agents or employees
27    acted in good faith, with justification and with probable cause and without malice toward
28    Plaintiffs’ decedent. All acts and conduct of this defendant and its agents and




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1     employees were within the jurisdiction of their official authority and were done by virtue
2     of and under the laws of the State of Nevada.
3                                  Nineteenth Affirmative Defense
4             Without admitting that punitive damages are appropriate in this case, Defendant
5     avers that fairness and justice require that Plaintiffs prove a claim for punitive damages
6     by clear and convincing evidence.
7                                  Twentieth Affirmative Defense
8             Without admitting the Plaintiffs are entitled to punitive damages, punitive
9     damages constitute excessive fines prohibited by the United States and Nevada
10    Constitutions. Further, NRS 42.010 does not provide adequate standards and/or
11    safeguards for its application and is therefore void for vagueness under the due process
12    clause of the Fourteenth Amendment to the United States Constitution and in
13    accordance with Article 1, §8 of the Nevada Constitution.
14                                   Twenty-First Affirmative Defense
15            The State of Nevada has reserved its immunity from suit under the Eleventh
16    Amendment to the United States Constitution, with such immunity extending to political

17    subdivisions of the State. Therefore, the University and its employees who are sued in
      their official capacities are immune from suit for any claims asserted under 42 U.S.C. §
18
      1983.
19
              Pursuant to the provisions of Rule 11 of the Federal Rules of Civil Procedure, at
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      the time of the filing of Defendant's answer, all possible affirmative defenses may not
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      have been alleged inasmuch as insufficient facts and other relevant information may not
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      have been available after reasonable inquiry, and therefore, Defendant reserves the
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      right to amend this answer to allege additional affirmative defenses if subsequent
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      investigation warrants the same.
25
              WHEREFORE, this answering Defendant requests the following:
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              1.     That judgment be entered in favor of Defendant on each of the causes of
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      action and claims set forth in the Third Amended Complaint;
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              2.     That Plaintiffs take nothing by reason of the Third Amended Complaint;



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1           3.     That Defendant be awarded his reasonable attorney’s fees incurred in
2     defending this matter;
3           4.     That Defendant be awarded his reasonable costs incurred in defending this
4     matter;
5           5.     For such other and further relief as the Court deems appropriate.
6           Respectfully submitted, this 30th day of October, 2013.
7
8                                             /S/ Gary A. Cardinal
                                              GARY A. CARDINAL
9                                             Assistant General Counsel
                                              NV Bar No. 76
10                                            University of Nevada, Reno
                                              1664 North Virginia Street/MS 0550
11                                            Reno, Nevada 89557-0550
12                                            (775) 784-3495
                                              Attorney for Defendant
13                                            BRAD DEMITROPOULOS

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1                                    CERTIFICATE OF SERVICE
2            I hereby certify that I am an employee of the University of Nevada, Reno, over the
3     age of eighteen years, that I am not a party to the within action, and that on the 30th day
4
      of October, 2013, I electronically filed the foregoing DEFENDANT DEMITROPOULOS’
5
      AMENDED ANSWER TO THIRD AMENDED COMPLAINT, with the Clerk of the Court
6
      by using the CM/ECF system which will send a notice of electronic filing to the listed
7
      parties below and served the following parties by U.S. mail, postage prepaid, addressed
8
      to:
9
10            Richard A. Salvatore, Esq.
11            Hardy Law Group
              96 & 98 Winter Street
12            Reno, NV 89503
13
              Cal J. Potter, III, Esq.
14            Potter Law Offices
              1125 Shadow Lane
15            Las Vegas, NV 89102
16
              Jack Campbell, Esq.
17            Reno City Attorney’s Office
              1 East First Street
18            PO Box 1900
19            Reno, NV 89505-1900

20
21
                                          /s/ Michelle A. Ene
22                                       Employee of the University of Nevada, Reno
23
24
25
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